     Case 1:20-cv-01674-TWT-JSA Document 64 Filed 11/12/21 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

CATHY CARTER,                             )
                                          )
     Plaintiff,                           )
                                          )
v.                                        )     Civil Action No.:
                                          )     1:20-cv-01674-TWT-JSA
                                          )
PAUL HOWARD, in his individual and        )
official capacity,                        )
                                          )
     Defendant.                           )

                   MOTION TO STRIKE PLAINTIFF’S MOTION
                  FOR LEAVE TO FILE AMENDED COMPLAINT

     Comes Plaintiff, by and through undersigned counsel, and moves this

Honorable Court to strike Plaintiff’s Motion for Leave to File Amended

Complaint (Doc. No. [59]) and allow her to refile with the correct Motion for

Leave to File Amended Complaint.


            Respectfully submitted this 12th day of November 2021.

                                          /s/MARIO WILLIAMS
                                          Mario B. Williams (Ga # 235254)
HDR, LLC
44 Broad Street NW, Suite 200
Atlanta, GA 30303
404-404-654-0288 / 404-592-6225 FAX
mwilliams@hdrattorneys.com
     Case 1:20-cv-01674-TWT-JSA Document 64 Filed 11/12/21 Page 2 of 3




                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this document has been prepared in Book Antiqua, 13

point, which complies with the font and point selections approved by the Court in

Local Rule 5.1(C)

                                                 /s/MARIO WILLIAMS
                                                 Mario B. Williams
                                                 Georgia Bar No. 235254
     Case 1:20-cv-01674-TWT-JSA Document 64 Filed 11/12/21 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically served the foregoing

Plaintiff’s Motion to Strike Plaintiff’s Motion for Leave to Amend the Complaint

to the Clerk of Court using the CM/ECF system upon:

Noah Green
Appelbaum Henefed & Green, PC
9 Lenox Pointe NE, Ste B
Atlanta, GA 30324
Tel: (404) 841-1275
ng@aps-law.com

      Respectfully submitted this 12th day of November 2021.

                                                 s/ Mario B. Williams
                                                 Mario B. Williams
                                                 Ga State Bar #235254


HDR, LLC
44 Broad Street NW, Suite 200
Atlanta, GA 30303
404-404-654-0288 / 404-592-6225 FAX
mwilliams@hdrattorneys.com
Attorney for Plaintiff
